on

: US DISTRICT COURT
Case. 4¥93cr-00068-A Document 25 Filed 03/25/19 Page 1 Q@hariRegekaisdr or TEXAS
FILED

 

 

 

 

 

ORIGIN A| INTHE UNITED STATES DISTRICT COURT WAR 25 209 | og”
eee Se FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION CLURK, U.S. DISTRICT COURT

 

By Deputy

UNITED STATES OF AMERICA
v. No. 4:19-CR-068-A
WILLIE CLAYTON DAVIDSON (01)

GOVERNMENT’S NOTICE REGARDING
ACCEPTANCE OF RESPONSIBILITY

 

The United States of America files this Government’s Motion Regarding
Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), and would show as follows:

If the Court determines that the Defendant is entitled to a reduction for Acceptance
of Responsibility, and that his offense level is 16 or greater, the Government moves that
the Defendant receive an additional third point reduction for Acceptance of
Responsibility, pursuant to USSG § 3E1.1(b), because the Defendant has assisted
authorities in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting the government to
avoid preparing for trial and permitting the government and the court to allocate their

resources efficiently.

Acceptance of Responsibility ~ Page 1

 
Case 4:19-cr-00068-A Document 25 Filed 03/25/19 Page 2 of 2 PagelD 35

Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

 

 

ROBERT //BO@DREAU
Assistant/United States Attorney
New York State Bar No. 4686507
Burnett Plaza, Suite 1700

801 Cherry Street, Unit #4

Fort Worth, Texas 76102

Tel: 817-252-5200

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading was this day served
upon counsel of record for the defendant, Leigh Davis, in accordance with the provisions

of Rule 49 of the Federal Rules of oo YA:

Acceptance of Responsibility - Page 2

OBERT J-BOUDREAU

Assistant United States Attorney

 
